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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                            Criminal No. 19-CR-10081
       vs.

GORDON ERNST et al.,

                      Defendant.



                       GOVERNMENT'S MOTION TO CONTINUE

        A hearing on Defendant Gordon Ernst’s motion for release of funds has been set for April
17, 2019 at 10:00 a.m. The United States of America hereby moves this Court to continue the
hearing until April 23, 2019 at 2:30 p.m. As grounds for the motion, counsel for the Government
represents that the government team prosecuting this case will be traveling for business for much
of the week of April 15, 2019, which would include April 17, 2019. Accordingly, the
government respectfully requests that the hearing be continued to April 23, 2019 at 2:30 p.m.


                                                    Respectfully submitted,

                                                    ANDREW E. LELLING
                                                    United States Attorney


                                            By:     __________________
                                                    ERIC S. ROSEN
                                                    Assistant U.S. Attorney

                                                    Date: April 9, 2019
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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants identified on the Notice of Electronic Filing (NEF) and mailed to all
those not participating in ECF.


Dated: April 9, 2019                                 By:     /s/ Eric S. Rosen
                                                             ERIC S. ROSEN
                                                             Assistant United States Attorney




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